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June 29, 2020

Via ECF

The Honorable Paul A. Engelmayer
United States District Judge
Southern District of New York
United States Courthouse
40 Foley Square
New York, New York 10007

       Re:      United States v. Teman, case no. 1:19-cr-696

Dear Judge Engelmayer:

Pursuant to your “individual rules of practice in criminal cases,” this letter serves as the Defendant
Ari Teman’s request to adjourn sentencing for 60 days. Assistant United States Attorney Khedar
Bhatia notified undersigned counsel that the Government does not oppose this request.

As this Court is aware, the nation is in the midst of the COVID-19 pandemic. Teman currently
resides in Florida, his undersigned counsel currently resides in Florida, and his other undersigned
counsel Justin Gelfand currently resides in Missouri. As such, proceeding with sentencing at the
currently-scheduled date would require both members of the defense team and Teman to travel to
New York City at a time when public health officials are discouraging travel unless absolutely
necessary. Furthermore, as COVID-19 cases spike throughout the country, New York has
implemented quarantine restrictions on travelers arriving in New York. See Executive Order No.
205 (June 24, 2020).

Based on these unusual circumstances, Teman seeks an adjournment so that the parties and this
Court can take the necessary safety precautions before physically reconvening for sentencing.

Kind Regards,

                                Digitally signed by /s/ Joseph A. DiRuzzo, III
/s/ Joseph A. DiRuzzo, III      Date: 2020.06.29 16:55:17 -04'00'


Joseph A. DiRuzzo, III

JAD/
cc: AUSA K. Bhatia, via ECF
AUSA E. Imperatore, via ECF
J. Gelfand, via ECF

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